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EXHIBIT 7

(Term Sheet and Commitment Letter for the Exit Term Loan Facility)!

' The Debtors expressly reserve the right to supplement, modify or amend these documents at any time prior to the
Effective Date. The Debtors will supplement the Plan Supplement prior to the Confirmation Hearing to include a
form of the Exit Term Loan Facility Credit Agreement.
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Execution Copy
June 25, 2010

Neenah Foundry Company
2121 Brooks Avenue

P.O. Box 729

Neenah, WI 54957

Attn: President and Chief Executive Officer

TERM LOAN COMMITMENT LETTER

$60,000,000 EXIT TERM LOAN FACILITY

Ladies and Gentlemen:

We understand that Neenah Foundry Company, a Wisconsin corporation (the “Company’’), the
direct parent of the Company, NFC Castings, Inc, a Delaware corporation (the “Intermediate Parent”),
the direct parent of the Intermediate Parent and the indirect parent of the Company, Neenah
Enterprises, Inc., a Delaware corporation (the “Ultimate Parent’) and certain of their direct and
indirect subsidiaries (such subsidiaries, together with the Company, the Intermediate Parent and the
Ultimate Parent, collectively, the “Loan Parties”), have commenced a case on February 3, 2010 under
chapter 11 of title 11 of the United States Code (the “Bankruptcy Code’) in the United States
Bankruptcy Court for the District of Delaware (the “Bankruptcy Court’) (collectively the “Case’”).
We further understand that the Loan Parties expect that the Bankruptcy Court will approve a plan of
reorganization (the “Plan”), pursuant to which Plan the Loan Parties will exit bankruptcy. In
connection therewith, the Term Loan Commitment Parties (as defined below) wish to advise you of
their interest in structuring and arranging a senior secured term Joan facility in an aggregate principal
amount of up to $60,000,000 (the “Exit Term Loan Facility”), and their several but not joint
commitment to provide the entire principal amount of the Exit Term Loan Facility.

For purposes of this term loan commitment letter (this “Term Loan Commitment Letter’), (i)
“GoldenTree” shall mean GoldenTree Asset Management LP, not in its individual capacity but on
behalf of certain funds and/or accounts that it manages and/or advises, as it shall determine to be
appropriate to provide the commitment herein; (ii) “MacKay” shal] mean MacKay Shields LLC, not in
its individual capacity but on behalf of certain funds and/or accounts that it manages and/or advises, as
it shall determine to be appropriate to provide the commitment herein; and (iii) GoldenTree and

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MacKay shall be individually referred to as a “Term Loan Commitment Party” and collectively
referred to as the “Term Loan Commitment Parties”.

Subject to the terms and conditions described in this Term Loan Commitment Letter and the
Summary of Terms and Conditions attached hereto as Annex I (the “Term Loan Term Sheet”), (i)
GoldenTree is pleased to inform you of its several and not joint commitment to provide the principal
amount of the Exit Term Loan Facility set forth opposite its name on Annex II; and (ii) MacKay is
pleased to inform you of its several and not joint commitment to provide the principal amount of the
Exit Term Loan Facility set forth opposite its name on Annex II. The Company’s obligations in
respect of the Exit Term Loan Facility, as the borrower thereunder, shall be guaranteed by the
Intermediate Parent, the Ultimate Parent and the direct and indirect subsidiaries of the Company (other
than immaterial subsidiaries having de minimis operations and assets), and the Loan Parties’
obligations in respect of the Exit Term Loan Facility shall be secured by a perfected first priority
security interest in and liens on the Term Loan Priority Collateral (as defined in the Term Loan Term
Sheet) and a perfected second priority security interest in and liens on the Revolving Loan Priority
Collateral (as defined in the Term Loan Term Sheet), as described in the Term Loan Term Sheet.

The Company agrees that Wilmington Trust FSB will act as the sole administrative agent for
the Exit Term Loan Facility (in such capacity, together with its successors and permitted assigns, the
“Term Loan Agent’) upon the terms and subject to the conditions set forth in this Term Loan
Commitment Letter and the Term Loan Term Sheet. No arrangers, bookrunners, or other agents or co-
agents will be appointed, or other titles conferred, and no Exit Term Loan Lender (as defined in the
Term Loan Term Sheet) will receive any compensation of any kind for its participation in the Exit
Term Loan Facility, except as expressly provided in the Term Loan Term Sheet, in the letter of even
date herewith addressed to you providing, among other things, for certain fees relating to the Exit Term
Loan Facility (the “Term Loan Fee Letter’), and in the fee letter of even date herewith in favor of the
Term Loan Agent (the “Term Loan Agent Fee Letter’), in order to obtain its commitment to
participate in the Exit Term Loan Facility, in each case, without the consent of the Term Loan
Commitment Parties hereunder.

1. Conditions Precedent. The several and not joint commitment of each of the Term Loan
Commitment Parties hereunder and the several and not joint agreements of each of the Term Loan
Commitment Parties to perform the services described herein are subject to:

(a) the preparation, execution and delivery of definitive documentation with respect to the
Exit Term Loan Facility customary for similar financings, including, without limitation, a credit
agreement, security agreements and pledge agreements incorporating substantially the terms and
conditions outlined in this Term Loan Commitment Letter and the Term Loan Term Sheet and
otherwise satisfactory in form and substance to the Term Loan Commitment Parties and their counsel
(the “Operative Documents’’), on or before August 2, 2010;

(b) there not having occurred (i) one or more casualty or condemnation events, force
majeure or acts of God, which have resulted in or could reasonably be expected to result in a material
adverse change in the business, assets, operations, performance, properties, condition (financial or
otherwise), contingent liabilities, prospects or material agreements of the Ultimate Parent and its
subsidiaries, taken as a whole, since March 31, 2010 or (ii) in such Term Loan Commitment Party’s

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judgment, a material disruption of or change in the lending, financial, banking or capital market
conditions generally;

(c) the Company having entered into the Revolving Loan Commitment Letter and the
Revolving Loan Exit Facility (each term as defined in the Term Loan Term Sheet), in each case, in
form and substance satisfactory to the Exit Term Loan Lenders, and the Revolving Loan Commitment
Letter and the Revolving Loan Exit Facility remaining in full force and effect;

(d) the material accuracy and completeness of all material representations that the Loan
Parties and their affiliates make to the Term Loan Commitment Parties and all information (taken as a
whole) that the Loan Parties and their affiliates furnish to the Term Loan Commitment Parties;

(e) the payment in full of all fees, expenses and other amounts payable when due under this
Term Loan Commitment Letter and the Term Loan Fee Letter, which payment may be made with the
proceeds of the initial drawings under Exit Term Loan Facility and the Revolving Loan Exit Facility on
the Closing Date (as defined in the Term Loan Term Sheet);

(f) such Term Loan Commitment Party’s satisfaction with, and the approval by the
Bankruptcy Court of, (4) all aspects of the Exit Term Loan Facility and the Revolving Loan Exit
Facility and the transactions contemplated thereby, and the Operative Documents and (ii) all actions to
be taken, all undertakings to be made and obligations to be incurred by the Loan Parties in connection
with the Exit Term Loan Facility and the Revolving Loan Exit Facility (all such approvals to be
evidenced by the entry of one or more orders of the Bankruptcy Court satisfactory in form and
substance to such Term Loan Commitment Party, which orders shall, among other things, approve the
payment by the Company of all fees and expenses that are provided for in the Term Loan Term Sheet);

(g) the execution, delivery and compliance with the terms of this Term Loan Commitment
Letter, the Term Loan Fee Letter and Term Loan Agent Fee Letter; and

(h) the other “Conditions Precedent to the Closing of the Exit Term Loan” set forth in the
Term Loan Term Sheet.

Please note that those matters that are not covered or’ made clear in this Term Loan
Commitment Letter or the Term Loan Term Sheet are subject to mutual agreement of the parties.

2. Commitment Termination. Each Term Loan Commitment Party’s commitment set forth in this
Term Loan Commitment Letter will terminate on the earlier of 5:00 p.m. New York City time on
August 2, 2010 and the date of execution and delivery of the Operative Documents. Before such date,
the Term Loan Commitment Parties may terminate this Term Loan Commitment Letter if any event
occurs or information becomes available that, in their sole judgment, results or is likely to result in the
failure to satisfy any condition set forth in Section 1. In addition, each Term Loan Commitment
Party’s commitment set forth in this Term Loan Commitment Letter is subject to termination pursuant
to the last paragraph of this Term Loan Commitment Letter.

3. Exclusivity. The Company agrees to work exclusively with the Term Loan Commitment Parties
to consummate the financing contemplated herein and agrees that it will not, and it will not permit any
other Loan Party to, (a) engage in any discussions with any other lender or funding source regarding a
financing alternative to the Exit Term Loan Facility, (b) provide any deposit to any other lender or

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funding source in connection with a financing alternative to the Exit Term Loan Facility, (c) solicit or
accept a proposal or commitment from another lender or funding source in connection with a financing
alternative to the Exit Term Loan Facility, or (d) otherwise permit or encourage another person to
solicit a financing proposal or conduct due diligence in connection with a financing alternative to the
Exit Term Loan Facility; provided, however, that the foregoing shall not restrict the Company from
negotiating and entering into the Revolving Loan Exit Facility or the New Secured Notes.

4. Indemnification. The Company agrees to indemnify and hold harmless the Term Loan Agent,
each Term Loan Commitment Party, each Exit Term Loan Lender and each of their respective affiliates
and each of their respective officers, directors, employees, agents, advisors and representatives (each,
an “Indemnified Person”) from and against any and all claims, damages, losses, liabilities and
expenses (including, without limitation, reasonable fees and disbursements of counsel), joint or several,
that may be incurred by or asserted or awarded against any Indemnified Person (including, without
limitation, in connection with any investigation, litigation or proceeding or the preparation of a defense
in connection therewith), in each case arising out of or in connection with or by reason of this Term
Loan Commitment Letter, the Term Loan Term Sheet, the Term Loan Fee Letter or the Operative
Documents or the transactions contemplated hereby or thereby, or any use made or proposed to be
made with the proceeds of the Exit Term Loan Facility, except to the extent such claim, damage, loss,
liability or expense is found in a final, non-appealable judgment by a court of competent jurisdiction to
have resulted solely from such Indemnified Person’s gross negligence or willful misconduct. In the
case of an investigation, litigation or other proceeding to which the indemnity in this paragraph applies,
such indemnity shall be effective, whether or not such investigation, litigation or proceeding is brought
by any Loan Party, any securityholder or creditor of any Loan Party, an Indemnified Person or any
other person, or an Indemnified Person is otherwise a party thereto and whether or not the transactions
contemplated hereby are consummated.

No Indemnified Person shall have any liability (whether direct or indirect, in contract, tort or
otherwise) to any Loan Party, or any of its securityholders or creditors for or in connection with the
transactions contemplated hereby, except for direct damages (as opposed to special, indirect,
consequential or punitive damages including, without limitation, any loss of profits, business or
anticipated savings) determined in a final non-appealable judgment by a court of competent jurisdiction
to have resulted solely from such Indemnified Person’s gross negligence or willful misconduct.

5. Costs and Expenses. The Company agrees to pay or reimburse the Term Loan Agent and the
Term Loan Commitment Parties on demand, but in no event later than five (5) business days after such
demand, for all reasonable out-of-pocket costs and expenses incurred by the Term Loan Agent and the
Term Loan Commitment Parties in connection with the Exit Term Loan Facility (together with
reasonable supporting documentation therefor) and the preparation, negotiation, execution and delivery
of this Term Loan Commitment Letter, the Term Loan Term Sheet, the Term Loan Fee Letter, the
Operative Documents, the administration, amendment, modification or waiver thereof and any security
arrangements in connection therewith, including, without limitation, the reasonable fees, costs and
expenses of counsel, including local counsel, to the Term Loan Agent and the Term Loan Commitment
Parties (whether incurred before or after the date hereof), whether or not any of the transactions
contemplated hereby are consummated. The Company further agrees to pay all costs and expenses of
the Term Loan Agent and the Term Loan Commitment Parties (including, without limitation, the fees,
costs and expenses of counsel, including local counsel, to the Term Loan Agent and the Term Loan

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Commitment Parties) incurred in connection with the enforcement of any of its rights and remedies
hereunder or under the Term Loan Term Sheet, the Term Loan Fee Letter or the Operative Documents.

6. Confidentiality. By accepting delivery of this Term Loan Commitment Letter, the Company
agrees that this Term Loan Commitment Letter, the Term Loan Term Sheet and the Term Loan Fee
Letter are for its confidential use only and that neither its existence nor the terms hereof will be
disclosed by it to any person or entity (whether legal or other entity), other than (x) officers, directors,
employees, accountants, attorneys and other advisors of the Loan Parties, and then only on a
confidential and “need to know” basis in connection with the transactions contemplated hereby and (y)
the legal and financial advisors of the Revolving Credit Lenders (as defined in the Term Loan Term
Sheet). Notwithstanding the foregoing, the Company may disclose this Term Loan Commitment Letter
(excluding Annex II hereto) and the Term Loan Term Sheet (but not the Term Loan Fee Letter) (i) as
compelled in a judicial or administrative proceeding or as otherwise required by law (in which case the
Company agrees to inform the Term Loan Commitment Parties promptly thereof), (ii) in filings with
the Bankruptcy Court presiding over the Case and (iii) in the case of the Term Loan Fee Letter, in
filings under seal with the Bankruptcy Court presiding over the Case.

7. Representations and Warranties. The Company represents and warrants that (i) all information
(other than financial projections) that has been or will hereafter be made available to the Term Loan
Agent, any Term Loan Commitment Party, any Exit Term Loan Lender or any potential Exit Term
Loan Lender by or on behalf of the Loan Parties or any of their respective affiliates or representatives
in connection with the transactions contemplated hereby (when taken as a whole) is and will be
complete and correct in all material respects and does not and will not contain any untrue statement of
a material fact or omit to state a material fact necessary in order to make the statements contained
therein not misleading in light of the circumstances under which such statements were or are made, and
(ii) all financial projections, if any, that have been or will be prepared by or on behalf of the Loan
Parties or any of their respective representatives and made available to the Term Loan Agent, any Term
Loan Commitment Party, any Exit Term Loan Lender or any potential Exit Term Loan Lender have
been or will be prepared in good faith based upon assumptions that are reasonable at the time made and
at the time the related financial projections are made available to the Term Loan Agent and the Term
Loan Commitment Parties (it being understood that such projections are subject to uncertainties and
contingencies, many of which are beyond the Loan Parties’ control, and that no assurance can be given
that the projections will be realized). If at any time from the date hereof until the effectiveness of the
Operative Documents any of the representations and warranties in the preceding sentence would be
incorrect if the information or financial projections were being furnished, and such representations and
warranties were being made, at such time, then the Loan Parties will promptly supplement the
information and the financial projections so that such representations and warranties contained in this
paragraph will be correct.

In issuing this Term Loan Commitment Letter and in arranging the Exit Term Loan Facility
(including any syndication of the Exit Term Loan Facility), the Term Loan Agent and the Term Loan
Commitment Parties will be entitled to use, and to rely on the accuracy of, the information furnished to
them by or on behalf of the Loan Parties and their respective affiliates without responsibility for
independent verification thereof.

8. No Third Party Reliance, Etc. The agreements of the Term Loan Commitment Parties
hereunder and of any Exit Term Loan Lender that issues a commitment to provide financing under the

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Exit Term Loan Facility are made solely for the benefit of the Company and may not be relied upon or
enforced by any other person.

9. Sharing Information; Absence of Fiduciary Relationship. The Company acknowledges that the
Term Loan Agent, each Term Loan Commitment Party and/or one or more of their affiliates may
provide financing, equity capital or other services (including financial advisory services) to parties
whose interests may conflict with the interests of the Loan Parties. None of the Term Loan Agent, any
Term Loan Commitment Party, or any of their affiliates will use in connection with the transactions
contemplated hereby, or furnish to the Loan Parties, confidential information that the Term Loan
Agent, such Term Loan Commitment Party or any of their affiliates obtained or may obtain from any
other person.

The Company further acknowledges and agrees that (a) no fiduciary, advisory or agency
relationship between the Company, on the one hand, and the Term Loan Agent or any of the Term
Loan Commitment Parties, on the other hand, has been or will be created in respect of any of the
transactions contemplated by this Term Loan Commitment Letter or the Term Loan Term Sheet,
irrespective of whether the Term Loan Commitment Parties or their respective affiliates have advised
or are advising you on other matters, and (b) the Company will not bring or otherwise assert any claim
against the Term Loan Agent or any of the Term Loan Commitment Parties for breach of fiduciary
duty or alleged breach of fiduciary duty and agree that none of the Term Loan Agent and Term Loan
Commitment Parties shall have any liability (whether direct or indirect) to the Company in respect of
such a fiduciary duty claim or to any person asserting a fiduciary duty claim on behalf of or in right of
the Company, including the Company’s stockholders, employees or creditors.

10. Assignments. The Company may not assign this Term Loan Commitment Letter (including the
Term Loan Term Sheet), the Term Loan Fee Letter or the Term Loan Commitment Parties’
commitment hereunder without the prior written consent of each Term Loan Commitment Party, and
any attempted assignment without such consent shall be void. Each Term Loan Commitment Party
may assign its rights and obligations under this Term Loan Commitment Letter (including the Term
Loan Term Sheet and the Term Loan Fee Letter), in whole or in part, to any of its affiliates or funds
and/or accounts that it manages or advises or to any other Term Loan Commitment Party or, with the
prior written consent of the other Term Loan Commitment Parties and, to the extent the Company has
not defaulted under any obligation hereunder or under the Term Loan Fee Letter, the Company (such
consent of the Company not to be unreasonably withheld, delayed or conditioned), to any other
potential Exit Term Loan Lender and upon such assignment, such assigning Term Loan Commitment
Party will be released from the portion of its commitment hereunder that has been so assigned.

11. Amendments. This Term Loan Commitment Letter and the Term Loan Term Sheet may not be
amended or any provision hereof waived or modified except by written agreement signed by each party
hereto.

12. Governing Law, Etc. This Term Loan Commitment Letter and the Term Loan Term Sheet shall!
be governed by, and construed in accordance with, the laws of the State of New York, including
without limitation Section 5-1401 of the New York General Obligations Law. This Term Loan
Commitment Letter, the Term Loan Term Sheet, the Term Loan Fee Letter and the Term Loan Agent
Fee Letter set forth the entire agreement among the parties with respect to the matters addressed herein
and therein and supersedes all prior communications, written or oral, with respect hereto, including the

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“Exit Roll Option” under and as defined in that certain Term Loan DIP Commitment Letter, dated as of
February 3, 2010, by and among the Term Loan Commitment Parties and the Company (which Exit
Roll Option the parties hereto agree is hereby terminated and is of no further force or effect). This
Term Loan Commitment Letter and the Term Loan Term Sheet may be executed in any number of
counterparts, each of which, when so executed, shall be deemed to be an original and all of which,
taken together, shall constitute one and the same Term Loan Commitment Letter. Delivery of an
executed counterpart of a signature page to this Term Loan Commitment Letter by facsimile or
electronic transmission (e.g., “pdf”) shall be as effective as delivery of a manually executed counterpart
of this Term Loan Commitment Letter. Sections 3 through 7 and 12 and 13 shall survive the expiration
or termination of this Term Loan Commitment Letter whether or not the Operative Documents shall be
executed and delivered. The Company acknowledges that information and documents relating to the
Exit Term Loan Facility may be transmitted through Intralinks, the internet or similar electronic
transmission systems. .

13. Waiver of Jury Trial. Each party hereto irrevocably waives all right to trial by jury in
any action, proceeding or counterclaim (whether based on contract, tort or otherwise) arising out
of or relating to this Term Loan Commitment Letter or the Term Loan Term Sheet or the
transaction contemplated hereby or the actions of the parties hereto in the negotiation,
performance or enforcement hereof.

14. Jurisdiction. By its execution and delivery of this Term Loan Commitment Letter, each of the
parties hereby irrevocably and unconditionally agrees that any legal action, suit or proceeding against it
with respect to any matter under or arising out of or in connection with this Term Loan Commitment
Letter, the Term Loan Term Sheet or the Term Loan Fee Letter, or for recognition or enforcement of
any judgment rendered in any such action, suit or proceeding, may be brought in any federal or state
court in the borough of Manhattan, the city of New York, and by execution and delivery of this Term
Loan Commitment Letter, each of the parties hereby irrevocably accepts and submits itself to the
nonexclusive jurisdiction of each such court, generally and unconditionally, with respect to any such
action, suit or proceeding.

15. | Termination. The Company may terminate this Term Loan Commitment Letter upon written
notice to the Term Loan Agent and the Term Loan Commitment Parties at any time, provided that all
obligations of the Company with respect to (i) the payment and reimbursement of all costs and
expenses incurred by the Term Loan Agent and the Term Loan Commitment Parties to the extent
payable pursuant to this Term Loan Commitment Letter, (ii) the payment of all fees due to the Term
Loan Agent or the Term Loan Commitment Parties pursuant to this Term Loan Commitment Letter or
the Term Loan Fee Letter and (iii) the fifth sentence of Section 12 hereof, shall survive the termination
of this Term Loan Commitment Letter.

16. PATRIOT Act Notification. The Term Loan Commitment Parties hereby notify the Company
that pursuant to the requirements of the USA PATRIOT Acct, Title III of Pub. L. 107-56 (signed into
law October 26, 2001) (the “PATRIOT Act”), the Term Loan Commitment Parties and each Exit Term
Loan Lender is required to obtain, verify and record information that identifies the borrower and each
guarantor under the Exit Term Loan Facility, which information includes the name, address, tax
identification number and other information regarding the borrower and each guarantor that will allow
the Term Loan Commitment Parties or such Exit Term Loan Lender to identify the borrower and each

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guarantor in accordance with the PATRIOT Act and is effective as to each Term Loan Commitment
Party and each Exit Term Loan Lender.

Please indicate your acceptance of the provisions hereof by signing the enclosed copy of this
Term Loan Commitment Letter and returning them to the Term Loan Commitment Parties at or before
11:59 p.m. (New York City time) on July 6, 2010, the time at which the commitment of the Term Loan
Commitment Parties set forth above (if not so accepted prior thereto) will expire.

The Term Loan Commitment Parties are pleased to have been given the opportunity to assist
you in connection with this financing.

[Remainder of Page Intentionally Left Blank]

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Very truly yours,

GOLDENTREE ASSET MANAGEMENT LP,
not in its Individual and Principal capacity but as
Investment Advisor on behalf of one or more
managed accounts, as a Tefin Loan Commitment
Party

By:

Name: Barry Ritholz
_ Title: Vice President

Signature Page to Terin Loan Commitment Letter

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MACKAY SHIELDS LLC, as investment
advisor or sub-advisor to certain funds and/or
accounts, as a Term Loan Commitment Party

By:

: fe
Narie; “J. MATTHEW Pico
Title’ SENin@ MAN ARNE Dicer.

Signature Page to Term Loan Commitment Letter
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ACCEPTED AND AGREED on July __, 2010:

NEENAH FOUNDRY COMPANY

By:

Name:
Title:

Signature Page to Term Loan Commitment Letter
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Annex I

Term Loan Term Sheet

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EXECUTION VERSION

EXIT TERM LOAN FACILITY
Summary of Terms and Conditions

This Summary of Terms and Conditions (this “Exit Term Sheet”) outlines certain terms related to a
proposed exit financing described below and referred to as the “Exit Term Loan Facility” in that certain
Exit Term Loan Commitment Letter, dated June 25, 2010 (as the same may be amended, restated,
supplemented or otherwise modified from time to time, the “Exit Term Loan Commitment Letter’)
addressed to the Borrower from the Exit Term Loan Commitment Parties named therein. This Exit Term
Loan Term Sheet does not address all the terms and conditions of the Exit Term Loan Facility and terms
and conditions not set forth herein shall be subject to mutual agreement among the parties to the Exit
Term Loan Commitment Letter. Certain references are made herein to the Revolving Loan Exit Facility
described below and referred to as the “Revolving Loan Exit Facility” in the Revolving Loan
Commitment Letter, dated: June 25, 2010 (as the same may be amended, restated, supplemented or
otherwise modified from time to time, the “Revolving Loan Commitment Letter’) addressed to the
Borrower from the commitment parties named therein. This Exit Term Sheet is part of, and subject to,
the Exit Term Loan Commitment Letter. Capitalized terms used but not defined in this Exit Term Sheet

shall have the meanings ascribed to such terms in the Exit Term Loan Commitment Letter.

Borrower:

Guarantors:

Exit Agent:

Exit Term Loan Lenders:

Exit Term Loan Facility:

Neenah Foundry Company, a Delaware’ corporation (the “Borrower”), as a
reorganized debtor upon emergence from a case (together with the cases of
its affiliated debtors and debtors-in-possession, the “Case”) filed under
Chapter 11 of Title 11 of the United States Code (the “Bankruptcy Code”)
in the United States Bankruptcy Court for the District of Delaware (the
“Bankruptcy Court’).

Each of the Borrower’s direct and indirect subsidiaries (other than
immaterial subsidiaries having de minimis operations and assets), the direct
parent of the Borrower, NFC Castings Inc., a Delaware corporation (the
“Intermediate Parent’), and the direct parent of the Intermediate Parent and
indirect parent of the Borrower, Neenah Enterprises, Inc., a Delaware
corporation (the “Ultimate Parent’), (each, a “Guarantor” and collectively,
the “Guarantors”; together with the Borrower, individually a “Loan Party”
and collectively, the “Loan Parties”).

Wilmington Trust FSB (in such capacity, together with its successors and
assigns, the “Exit Agen?’).

(i) GoldenTree Asset Management, LP, on behalf of certain funds and/or
accounts that it manages and/or advises, and (ii) Mackay Shields LLC, on
behalf of certain funds and/or accounts that it manages and/or advises (and
together with their successors and permitted assignees, each a “Exit Term
Loan Lender’ and collectively, the “Exit Term Loan Lenders”).

A secured term loan facility (the “Exit Term Loan Facility”) in an
aggregate principal amount not to exceed $60,000,000 (the loans under the
Exit Term Loan Facility, the “Exit Term Loans”; and the transactions

' Borrower will be converted to a Delaware corporation as part of the restructuring pursuant to Section 5.4(b) of the

Plan.

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Closing Date:

Maturity:

Purpose:

Documentation:

Interest:

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contemplated hereby and by the Revolving Loan Exit Facility (as defined
below), the “Transactions”). Subject to the satisfaction or waiver of all
conditions thereto set forth in the Exit Term Loan Documents (as defined
below), the Exit Term Loans will be made in a single drawing on the
Closing Date. Once repaid, the Exit Term Loans incurred under the Exit
Term Loan Facility cannot be reborrowed.

On or before August 2, 2010 (the “Closing Date’).

All obligations under the Exit Term Loan Facility will be due and payable
in full in cash on the earlier of (i) the date occurring fifty-four (54) months
after the Closing Date (such date, the “Exit Term Loan Maturity Date’)
and (ii) the acceleration of the Exit Term Loan upon the occurrence of an
event referred to below under “Termination” (such earlier date, the “Exit
Term Loan Termination Date”). Unless otherwise agreed by the Exit
Lenders, the principal of, and accrued interest on, the Exit Term Loan and
all other amounts owing to the Exit Agent and the Exit Term Loan Lenders
under the Exit Term Loan Facility shall be payable on the Exit Term Loan
Termination Date.

The Exit Term Loan Facility shall be available for (i) refinancing the term
loans outstanding as of the Closing Date (collectively, the “Outstanding
DIP Term Loans’) under that certain Super-Priority Secured Debtor-In-
Possession Multiple Draw Term Loan Agreement, dated as of February 5,
2010 (as amended, restated, supplemented or otherwise modified from time
to time, the “DIP Term Credit Agreement’), among the Borrower, each of
the guarantors named therein, the lenders party thereto, and Wilmington
Trust FSB, as administrative agent for the Lenders, (ii) making all
distributions and payments required under the Plan of Reorganization (as
defined below), including financing of administrative expenses incurred by
the Borrower in connection with its emergence from bankruptcy, (iii)
repaying the obligations under the Revolving Loan Exit Facility (as defined
below) or the Loan Parties’ revolving debtor-in-possession credit facility
(the “Revolving Loan DIP Facility”) under that certain Postpetition
Agreement dated as of February 5, 2010, by and among the Loan Parties,
Bank of America, N.A., as agent, and the lenders party thereto, and (iv)
working capital and other general corporate purposes of the Borrower.

The Exit Term Loan Facility will be evidenced by a credit agreement (the
“Exit Term Loan Agreement”), collateral documents, guarantees and other
legal documentation (collectively, together with the Exit Term Loan
Agreement, the “Exit Term Loan Documents’), in each case, in form and
substance satisfactory to the Exit Agent and the Exit Term Loan Lenders.

The Exit Term Loans will bear interest at one of the following rates as
follows at the Borrower’s option:

(a) the Applicable Margin p/us the current LIBOR rate as determined by
the Exit Agent in accordance with its customary procedures, and utilizing
such electronic or other quotation sources as it considers appropriate, to be
the rate at which United States Dollar deposits are offered to major banks in

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Fees:

Default Interest:

Excess Cash Flow Sweep
and other Mandatory
Prepayments:

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the London interbank market two (2) business days prior to the
commencement of the requested interest period, adjusted for reserve
requirements, if any, and subject to customary change of circumstance
provisions, for interest periods of one, two or three months (the “LIBOR
Rate”), payable at the end of the relevant interest period, but in any event at
least quarterly; provided, however, that in no event shall the LIBOR Rate at
any time be less than 2.00%; or

(b) the Applicable Margin plus a per annum rate equal to the higher of (a)
the rate of interest announced from time to time, as the prime lending rate in
the Wall Street Journal and (b) the sum of (i) 0.50% per annum plus (ii) the
Federal Funds Rate (to be defined in the Exit Term Loan Agreement) (the
“Base Rate”), payable at the end of the relevant interest period, but in any
event at least quarterly; provided, however, that in no event shall the Base
Rate at any time be less than 3.00%.

“Applicable Margin” means a rate per annum equal to 9.00% in the case of
LIBOR Rate and 8.00% in the case of Base Rate.

Interest shall be calculated on the basis of the actual number of days elapsed
in a 360-day year.

A closing fee equal to 2.00% of the maximum amount of the Exit Term
Loan Facility, payable on the Closing Date.

During the continuance of an Event of Default (as defined in the Exit Term
Loan Agreement), the Exit Term Loans will bear interest at an additional
2.00% per annum.

The Exit Term Loan Agreement will contain customary mandatory
prepayment events for financings of this type and others deemed by the Exit
Term Loan Lenders to be appropriate to the Transactions, including,
without limitation, prepayments from (i) 50% of excess cash flow (to be
defined in the Exit Term Loan Agreement) on an annual basis subject to
step-downs to be agreed and subject to such other conditions, if any, as may
be agreed by the Lenders in the Exit Term Loan Agreement, (ii) proceeds of
asset sales (which sales shall be on terms and conditions acceptable to the
Exit Term Loan Lenders in accordance with the terms of the Exit
Intercreditor Agreement (as defined below)), (iii) proceeds of insurance and
condemnation proceeds (subject to the terms of the Exit Intercreditor
Agreement) and (iv) proceeds of debt issuances received by the Borrower or
any of the Guarantors and, in the case of each of clauses (i) through (iv)
above, subject to exceptions to be agreed, including without limitation, the
right to reinvest insurance and condemnation proceeds.
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Optional Prepayment:

Exit Priority Account:

Priority and Security under
Exit Term Loan Facility
and Revolving Loan Exit
Facility:

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Mandatory prepayments to the Exit Agent and/or Exit Term Loan Lenders
will result in a permanent reduction of the Exit Term Loan Facility;
provided, however, that all cash proceeds of Revolving Loan Priority
Collateral (as defined below) coming into the possession or control of the
Loan Parties shall be applied to permanently reduce the outstanding
obligations (with a corresponding reduction of the related commitments), if
any, under the Revolving Loan Exit Facility, and then to the outstanding
obligations, if any, under the Exit Term Loan Facility.

The Exit Term Loans shall also be subject to mandatory prepayment
according to the following amortization schedule:

Year 1: 0%
Years 2 through 5: 1%

In the case of any optional prepayment of the Exit Term Loans, the
Borrower shall pay a prepayment fee (based upon the principal amount of
the Exit Term Loans prepaid) as follows:

Year I: 3%
Year 2: 2%
Year 3: 1%

Thereafter: 0%

All proceeds of (i) sales and other dispositions of Term Loan Priority
Collateral (as defined below) (subject to any qualifications or baskets as
may be agreed by the Borrower and the Lenders in the Exit Term Loan
Documents) and (ii) a Property Loss Event (to be defined in the Exit Term
Loan Agreement), in the case of each of clauses (1) and (ii) above, shall be
deposited into a segregated account of the Borrower (the “Exit Priority
Account’) and invested at all times in cash and Cash Equivalents (to be
defined in the Exit Term Loan Agreement (as defined below)). The Exit
Priority Account shall be held by the Exit Agent for the benefit of the Exit
Term Loan Lenders or shall be subject to a control agreement, in form and
substance satisfactory to Exit Agent (at the direction of the Requisite Exit
Term Loan Lenders (as defined below)), which establishes “control” (as
defined in the Uniform Commercial Code as in effect from time to time in
the State of New York) in favor of the Exit Agent for the benefit of the Exit
Term Loan Lenders, and withdrawals from such account shall only be used
to make payments on the Exit Term Loan Facility or, in the case of proceeds
of a Property Loss Event that are the subject of a Reinvestment Event (to be
defined in the Exit Term Loan Agreement), to fund a reinvestment in Term
Loan Priority Collateral on the terms and subject to the conditions to be set
forth in the Exit Term Loan Agreement.

All obligations of the Borrower and the Guarantors to the Exit Term Loan
Lenders and to the Exit Agent, including, without limitation, all principal
and accrued interest, costs, fees and expenses or any exposure of an Exit
Term Loan Lender or any of its affiliates in respect of cash management or
hedging transactions incurred on behalf of the Borrower or any Guarantor,
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shall be secured by:

(a) a first priority perfected lien on, and security interest in, all assets
and property of each Loan Party, whether real, personal or mixed, whether
now owned or hereinafter acquired, and wherever located, other than the
Revolving Loan Priority Collateral, and the products and proceeds thereof
(the “Term Loan Priority Collateral’); and

(b) a perfected lien on, and security interest in:

(i) all accounts (but excluding any accounts consisting of a right to
receive payment from a sale, assignment, transfer, lease, license or other
disposition of property constituting Term Loan Priority Collateral);

(ii) all inventory;
(iii) all patterns and core boxes collateral;

(iv) to the extent governing or involving any of the items referred to in
preceding clauses (i) through (iii), all chattel paper, documents, general
intangibles, instruments and letter-of-credit rights, provided that to the
extent any of the foregoing also relates to Term Loan Priority Collateral,
only that portion related to the items referred to in preceding clauses (i)
through (iii) shall be included in the Revolving Loan Priority Collateral (as
defined below);

(v) to the extent relating to any of the items referred to in preceding
clauses (i) through (iv), all supporting obligations, provided that to the
extent any of the foregoing also relates to Term Loan Priority Collateral,
only that portion related to the items referred to in preceding clauses (i)
through (iv) shall be included in the Revolving Loan Priority Collateral;

(vi) all deposit accounts and all deposits of cash, checks, other
negotiable instruments, funds and other evidences of payments held therein
or credited thereto (but excluding (x) all deposits of cash, checks, other
negotiable instruments, funds, and other evidences of payments constituting
identifiable proceeds of Term Loan Priority Collateral and (y) the Exit
Priority Account and all cash, checks, other negotiable instruments, funds,
other evidences of payments, securities, financial assets or other property
held therein or credited thereto);

(vit) all loans payable by a Loan Party to any other Loan Party to the
extent made using the direct proceeds of advances under the Revolving
Loan Exit Facility;

(viii) all policies of business interruption insurance;
(ix) all books and records (including, without limitation, databases,

customer lists and engineer drawings), in each case whether tangible or
electronic and to the extent embodying, incorporating or otherwise relating
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Intercreditor Issues:

Conditions Precedent to the
Closing of the Exit Term
Loan:

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to any of the foregoing; and
(x) all proceeds of the foregoing;

(the “Revolving Loan Priority Collateral), which shall be junior only to
the security interest in such assets and property securing the obligations
under the Revolving Loan Exit Facility.

The property referred to in the preceding clauses (a) and (b) is collectively
referred to as the “Collateral”

The Exit Term Loan Lenders and the Revolving Credit Lenders (as defined
below) shall enter into an intercreditor agreement (the “Exit Intercreditor
Agreement”) in form and substance satisfactory to the Exit Term Loan
Lenders and the Revolving Credit Lenders, which shall provide, among
other things, that (A) as related to the Revolving Loan Priority Collateral, (i)
the Revolving Credit Lenders will have an exclusive right to exercise lien-
related remedies; (ii) the Exit Term Loan Lenders will not object to the
amount of the Revolving Credit Lenders’ claims; (iii) the Exit Term Loan
Lenders will not object to a “debtor-in-possession” financing proposed or
supported by the Revolving Credit Lenders; (iv) the Exit Term Loan
Lenders will not object to the Revolving Credit Lenders’ adequate
protection; and (v) the Exit Term Loan Lenders will be deemed to have
consented to any sale of Revolving Loan Priority Collateral that is
supported by the agent of the Revolving Credit Lenders, and (B) as related
to the Exit Term Priority Collateral, (i) the Exit Term Loan Lenders will
have an exclusive right to exercise lien-related remedies; (ii) the Revolving
Credit Lenders will not object to the amount of the Exit Term Loan
Lenders’ claims; (iii) the Revolving Credit Lenders will not object to a
“debtor-in-possession” financing proposed or supported by the Exit Term
Lenders; (iv) the Revolving Credit Lenders will not object to the Exit Term
Loan Lenders’ adequate protection; and (v) the Revolving Credit Lenders
will be deemed to have consented to any sale of Term Loan Priority
Collateral that is supported by the agent of the Exit Term Loan Lenders.

The Exit Term Loan Lenders, the Revolving Credit Lenders and the trustee
(the “Trustee”) for the New Secured Notes (as defined below) shall enter
into an intercreditor agreement (the “Third Lien Intercreditor Agreement”)
in form and substance satisfactory to the Exit Term Loan Lenders, the
Revolving Credit Lenders and the Trustee, which shall provide, among
other things, that (i) the New Secured Notes will be subordinate to the prior
payment in full of the Revolving Loan Exit Facility and the Exit Term Loan
Facility, and (ii) the Trustee’s liens and security interest in the Collateral
will be subordinate to the liens and security interest in the Collateral of the
Revolving Loan Exit Facility and the Exit Term Loan Facility.

The Exit Term Loan Agreement will contain customary conditions for
financings of this type and other conditions deemed by the Exit Term Loan
Lenders to be appropriate to the Transactions and in any event including,
without limitation:
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e All documentation relating to the Exit Term Loan Facility shall be in
form and substance satisfactory to the Exit Agent (at the direction of the
Requisite Exit Term Loan Lenders) and its counsel.

e All fees and all reasonable costs and expenses (including fees, costs and
expenses of counsel) required to be paid to the Exit Agent and the Exit
Term Loan Lenders on or before the Closing Date shall have been paid
(which condition may be satisfied with the proceeds of the initial advance
under the Exit Term Loan Facility or the Revolving Loan Exit Facility on
the Closing Date).

e As acondition to the closing of the Exit Term Loan Facility, the Loan
Parties shall have entered into a revolving loan facility (the “Revolving
Loan Exit Facility”) in an aggregate committed principal amount of at least
$100,000,000 on terms consistent with the terms contained herein, and the
loan documents related to such Revolving Loan Exit Facility, in form and
substance satisfactory to the Exit Term Loan Lenders, shall be in full force
and effect. The administrative agent under the Revolving Loan Exit
Facility, in its capacity as agent under the Revolving Loan Exit Facility, is
referred to herein as the “Revolving Loan Agent” and, together with the
Exit Agent, the “Agents”; and the lenders under the Revolving Loan Exit
Facility, together with their permitted assignees, are referred to herein as the
“Revolving Credit Lenders”.

e The Exit Term Loan Lenders shall have received certification as to the
financial condition and solvency of each of the Loan Parties (after giving
effect to the Transactions, the incurrence of indebtedness under the New
Secured Notes (as defined below) and any other transactions contemplated
by the Plan of Reorganization on or prior to the Closing Date) from the
chief financial officer of each such entity.

e AJl filings, recordations and searches necessary or desirable in
connection with the liens and security interests in the Collateral shall have
been duly made; all filings and recording fees and taxes shall have been
duly paid and any surveys, title insurance, landlord waivers and access
letters requested by the Exit Agent with respect to real property interests of
the Loan Parties shall have been obtained.

e The Exit Term Loan Lenders shall have received the results of recent
lien searches in each relevant jurisdiction with respect to the Loan Parties
and their subsidiaries, and such search results shall reveal no liens on any
assets of the Loan Parties and their subsidiaries except for customary
permitted liens and liens effectively discharged on or prior to the Closing
Date to the satisfaction of the Exit Term Loan Lenders.

e The Exit Term Loan Lenders shall be satisfied that the Ultimate Parent
and its subsidiaries will be able to meet their obligations under all employee
and retiree welfare, health and pension plans of the Ultimate Parent and its
subsidiaries, that such employee benefit plans are, in all material respects,
funded in accordance with the minimum statutory requirements, that no
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material “reportable event” (as defined in ERISA, but excluding events for
which reporting has been waived) has occurred as to any such employee
benefit plan and that no termination of, or withdrawal from, any such
employee benefit plan has occurred or is contemplated that could result in a
material liability. The Exit Term Loan Lenders shall have reviewed and be
satisfied with all employee benefit plans of the Ultimate Parent and its
subsidiaries.

e The Exit Agent and the Exit Term Loan Lenders shall have received
satisfactory opinions of independent counsel (including local counsel) to the
Loan Parties, addressing such matters as the Exit Agent or the Exit Term
Loan Lenders shall reasonably request, including, without limitation, the
enforceability of all Exit Term Loan Documents, compliance with all laws
and regulations (including, without limitation, Regulations T, U and X of
the Board of Governors of the Federal’ Reserve System), the creation and
perfection of all security interests purported to be granted and no conflicts
with material agreements.

e° There shall have occurred no event which has resulted in or could
reasonably be expected to result in a material adverse change in (i) as a
result of one or more casualty or condemnation events, force majeure or acts
of God, (x) the value of the Collateral or (y) the business, assets, operations,
performance, properties, condition (financial or otherwise), contingent
liabilities, prospects or material agreements of the Ultimate Parent and its
subsidiaries, individually, and the Ultimate Parent and its subsidiaries, taken
as a whole, since March 31, 2010, (ii) the legality, validity or enforceability
of any Exit Term Loan Document, (iii) the ability of the Borrower or the
Guarantors to perform their respective obligations under the Exit Term
Loan Documents, (iv) the perfection or priority of the liens granted pursuant
to the Exit Term Loan Documents, or (v) the ability of the Exit Agent and
the Exit Term Loan Lenders to enforce the Exit Term Loan Documents (any
of the foregoing being a “Closing Date Material Adverse Change’).

® There shall exist no action, suit, investigation, litigation or proceeding
pending or threatened in any court or before any arbitrator or governmental
instrumentality that (i) could reasonably be expected to result in a Closing
Date Material Adverse Change or (ii) restrains, prevents or imposes or can
reasonably be expected to impose materially adverse conditions upon the
Exit Term Loan Facility, the Collateral or the transactions contemplated
thereby.

e All governmental and third party consents and approvals necessary in
connection with the Exit Term Loan Facility and the transactions
contemplated thereby shall have been obtained (without the imposition of
any conditions that are not reasonably acceptable to the Exit Agent at the
direction of the Requisite Exit Term Loan Lenders) and shall remain in
effect; and no law or regulation shall be applicable in the judgment of the
Exit Term Loan Lenders that restrains, prevents or imposes materially
adverse conditions upon the Exit Term Loan Facility or the transactions
contemplated thereby.
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e The Exit Agent, for the benefit of the Exit Term Loan Lenders, shall
have a valid and perfected lien on and security interest in the Collateral on
the basis and with the priority set forth herein, subject to certain post-
closing filings.

e The Exit Term Loan Lenders shall be reasonably satisfied with the
amount, types and terms and conditions of all insurance and bonding
maintained by the Ultimate Parent and its subsidiaries, and the Exit Agent
shall have received certificates and endorsements indicating that the Exit
Agent, on behalf of the Exit Term Loan Lenders, is an additional insured or
loss payee, as applicable, as their interests may appear under all insurance
policies to be maintained with respect to the properties of the Ultimate
Parent and its subsidiaries forming part of the Collateral.

@ The terms of the Loan Parties’ plan of reorganization (the “Plan of
Reorganization”) shall be in form and substance acceptable to the Exit
Term Loan Lenders in all respects (which, for the avoidance of doubt, shall
provide, among other provisions which must be satisfactory to the Exit
Term Loan Lenders in all respects, for the prepayment in full of the
Revolving Loan DIP Facility and the Outstanding DIP Term Loans, and
contain approval of the Exit Term Loan Facility). The Bankruptcy Court
shall have confirmed the Plan of Reorganization by a final and non-
appealable order, in form and substance acceptable to the Exit Term Loan
Lenders in all respects and such Plan of Reorganization shall have become
effective. The Term Loan Lenders shall be satisfied with, to the extent not
specifically described in the Plan of Reorganization, the terms of the
restructuring of the Loan Parties (including, without limitation, changes to
the current composition of the Boards of Directors and the capital and tax
structure of the Loan Parties and their subsidiaries).

e The Exit Agent shall have received satisfactory evidence of (i)
repayment of all indebtedness outstanding on the Closing Date that the Plan
of Reorganization requires to be paid as of the Closing Date and (1i)
satisfaction of ‘all requirements of the Plan of Reorganization, including
without limitation all conditions to effectiveness set forth in the Plan of
Reorganization, as of the Closing Date.

e Immediately prior to the funding of the Exit Term Loans and
immediately following the funding of the Exit Term Loans, there shall exist
no default under the Exit Term Loan Documents or Revolving Loan Exit
Facility.

e Onor prior to the Closing Date, Neenah Foundry Company’s shall! have
issued its 15% Senior Secured Notes due 2015 (the “NVew Secured Notes’’),
which shall be (i) junior in right of payment to the Exit Term Loan Facility,
(ii) fully subordinated to the Exit Term Loan Facility with respect to all
rights and perfection in the Collateral and (iii) evidenced by legal
documentation in form and substance acceptable to the Exit Term Loan
Lenders.
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Representations and
Warranties:

Affirmative and Negative
Covenants:

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° The representations and warranties of the Borrower and each Guarantor
in the Exit Term Loan Documents shall be true and correct in all material
respects on the Closing Date (except to the extent such representations and
warranties expressly relate to an earlier date, in which case such
representations and warranties shall be true and correct on and as of such
earlier date), in each case immediately prior to, and after giving effect to,
the funding of the Exit Term Loans.

e The making of the Exit Term Loans shall not violate any requirement of
law and shall not be enjoined, temporarily, preliminarily or permanently.

° There shall not exist any Jaw, regulation, ruling, judgment, order,
injunction or other restraint that, in the reasonable judgment of the Exit
Term Loan Lenders, prohibits, restricts or imposes materially adverse
conditions on the Loan Parties, the Exit Term Loan Facility, or the exercise
by the Exit Agent or the Exit Term Loan Lenders of their rights as secured
parties with respect to the Collateral.

The Exit Term Loan Agreement will contain customary representations and
warranties for financings of this type and others deemed by the Exit Term
Loan Lenders appropriate to the Transactions (which will be applicable to
the reorganized Loan Parties and their subsidiaries) to be made as of (x) the
date the Borrower and the Guarantors execute the Exit Term Loan
Documents and (y) if different, the Closing Date, in each case, including,
without limitation, representations and warranties regarding valid existence,
requisite power, due authorization, no conflict with agreements, orders or
applicable law, governmental consent, enforceability of the Exit Term Loan
Documents, accuracy of financial statements and all other information
provided (other than projections), reasonableness of projections, audited
financial statements not qualified (except that such financial statements for
the fiscal year ended September 30, 2009 may contain a “going concern”
qualification), compliance with law, absence of a Closing Date Material
Adverse Change, no default under the Exit Term Loan Documents, absence
of material litigation and contingent obligations, taxes, subsidiaries, ERISA,
pension, benefit plans, absence of liens on assets, ownership of properties
and necessary rights to intellectual property, insurance, no burdensome
restrictions, cash management system in place, inapplicability of Investment
Company Act or Public Utility Holding Company Act of 2005.

The Exit Term Loan Agreement will contain customary affirmative and
negative covenants for financings of this type and others determined by the
Exit Term Loan Lenders to be appropriate (which will be applicable to the
Loan Parties and their subsidiaries) with customary exceptions and baskets
to be agreed, including, without limitation, the following:

e Comply in all material respects with laws (including without limitation,
ERISA, and environmental Jaws), pay taxes, maintain all necessary
licenses and permits and trade names, trademarks, patents, preserve
corporate existence, maintain appropriate and adequate insurance

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Financial Covenants

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coverage and permit inspection of properties, books and records.

Conduct all transactions with affiliates on terms equivalent to those
obtainable in arm’s length transactions, including, without limitation,
restrictions on management fees to affiliates.

Maintain a cash management system satisfactory to the Exit Term Loan
Lenders.

Not incur or assume any additional debt or contingent obligations other
than under the Revolving Loan Exit Facility and the New Secured
Notes, give any guaranties, create any liens, charges or encumbrances
other than under the Revolving Loan Exit Facility or the New Secured
Notes or incur additional lease obligations, in each case, beyond agreed
upon limits; not merge or consolidate with any other person, change the
nature of business or corporate structure or create or acquire new
subsidiaries, in each case, beyond agreed upon limits or amend its
charter or by-laws; not sell, lease or otherwise dispose of assets
(including, without limitation, in connection with a sale leaseback
transaction) beyond agreed upon limits; not give a negative pledge on
any assets in favor of any person other than the Exit Agent and the Exit
Term Loan Lenders, the Revolving Loan Agent, the Revolving Credit
Lenders and the Trustee; and not permit to exist any consensual
encumbrance on the ability of any subsidiary to pay dividends or other
distributions to the Borrower other than under the Revolving Loan Exit
Facility and the indenture for the New Secured Notes.

Not prepay, redeem, purchase, defease, exchange or repurchase any
debt or amend or modify any of the terms of any debt or other similar
agreements entered into by the reorganized Loan Parties or their
subsidiaries.

Not make any loans, advances, capital contributions or acquisitions,
form any joint ventures or partnerships or make any other investments
in subsidiaries or any other person.

Not make or commit to make any payments in respect of warrants,
options, repurchase of stock, dividends or any other distributions, other
than restricted payments in an amount not to exceed 50% of
consolidated net income on a cumulative basis.

Not permit (3) any change in ownership or control of any Loan Party or
any subsidiary or (ii) any change in accounting treatment or reporting
practices, except as required by GAAP and as permitted by the Exit
Term Loan Agreement.

The Exit Term Loan Agreement will contain the following financial
covenants (which will be applicable to the Loan Parties and their
subsidiaries on a consolidated basis) to be tested quarterly: minimum fixed
charge coverage ratio, maximum leverage ratio, and a limitation on capital

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Financial and Other

Reporting Requirements:

Information:

Events of Default:

Termination:

Remedies:

Indemnification:

expenditures.”

The Exit Term Loan Agreement will contain customary reporting
requirements for similar financings and others determined by the Exit Term
Loan Lenders in their discretion to be appropriate to the Transactions,
including, without limitation, with respect to litigation, contingent
liabilities, ERISA or environmental events (the “Jnformation’’).

Notwithstanding any of the foregoing, any Exit Term Loan Lender may
elect not to receive any of the Information. If any Exit Term Loan Lender
makes such an election, the Exit Agent will refrain from delivering the
Information to such Exit Term Loan Lender until such Exit Term Loan
Lender requests to be provided with the Information.

The Exit Term Loan Agreement will contain events of default (subject to
customary cure periods as may be agreed) customarily found in the Exit
Term Loan Lenders’ loan agreements for similar financings and other
events of default deemed by the Exit Term Loan Lenders appropriate to the
Transactions (which will be applicable to the Loan Parties and their
subsidiaries), including, without limitation, failure to make payments when
due; noncompliance with covenants; breaches of representations and
warranties; failure to satisfy judgments in excess of certain amounts,
defaults under any indenture, loan agreement or other material obligation of
any of the Loan Parties; impairment of Exit Term Loan Documents; change
of ownership or control of any Loan Party (except with respect to sales of
subsidiaries expressly permitted under the Exit Term Loan Documents);
customary bankruptcy and insolvency events; any Loan Party shall become
unable, admit in writing its inability or fail generally to pay its debts as they
become due; and the existence of certain materially adverse employee
benefit or environmental liabilities.

Upon the occurrence and during the continuance of an Event of Default
under the Exit Term Loan Facility, the Exit Agent may, and at the direction
of the Requisite Exit Term Loan Lenders shall, by written notice to the
Borrower and its counsel, terminate the Exit Term Loan Facility, declare the
obligations in respect thereof to be immediately due and payable and,
subject to the immediately following paragraph, exercise all of its rights and
remedies under the Exit Term Loan Documents. Certain Events of Default
under the Exit Term Loan Facility shall result in immediate termination and
acceleration of the Exit Term Loan Facility.

The Exit Agent and the Exit Term Loan Lenders shall have customary
remedies, including, without limitation, the right to realize on, subject to the
Exit Intercreditor Agreement, all Collateral.

The Loan Parties shall jointly and severally indemnify and hold harmless
the Exit Agent, each Exit Term Loan Lender and each of their affiliates and
each of the respective officers, directors, employees, controlling persons,

? Any additional financial covenants in Revolving Loan Exit Facility to be incorporated.

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Expenses:

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agents, advisors, attorneys and representatives of each (each, an
“Indemnified Party”) from and against any and all claims, damages, losses,
liabilities and expenses (including, without limitation, fees and
disbursements of counsel), joint or several, that may be incurred by or
asserted or awarded against any Indemnified Party, in each case arising out
of or in connection with or relating to any investigation, litigation or
proceeding or the preparation of any defense with respect thereto, arising
out of or in connection with or relating to the Exit Term Loan Facility, the
Exit Term Loan Documents or the transactions contemplated thereby, or
any use made or proposed to be made with the proceeds of the Exit Term
Loan Facility, whether or not such investigation, litigation or proceeding is
brought by any Loan Party or any of its subsidiaries, any shareholders or
creditors of the foregoing, an Indemnified Party or any other person, or an
Indemnified Party is otherwise a party thereto and whether or not the
transactions contemplated hereby or under the Exit Term Loan Documents
are consummated, except to the extent such claim, damage, loss, liability or
expense is found in a final non-appealable judgment by a court of
competent jurisdiction to have resulted solely from such Indemnified
Party’s gross negligence or willful misconduct. No Indemnified Party shall
have any liability (whether direct or indirect, in contract, tort or otherwise)
to the Loan Parties or any of their subsidiaries or any shareholders or
creditors of the foregoing for or in connection with the transactions
contemplated hereby, except to the extent such liability is found in a final
non-appealable judgment by a court of competent jurisdiction to have
resulted solely from such Indemnified Party’s gross negligence or willful
misconduct. In no event, however, shall any Indemnified Party be liable on
any theory of liability for any special, indirect, consequential or punitive
damages.

The Borrower and each Guarantor shall jointly and severally pay promptly,
and in each case within five (5) business days of receipt of an invoice from
Exit Agent or any Exit Term Loan Lender, regardless of whether any
Transactions are ever actually consummated, all (1) reasonable, out-of-
pocket fees, costs and expenses of the Exit Agent and the Exit Term Loan
Lenders (including all reasonable fees, expenses and disbursements of one
firm of outside counsel for the Exit Agent, one firm of outside counsel for
the Exit Term Loan Lenders, one firm of Delaware counsel and other local
counsel as may be required, and other professional advisors hired by the
Exit Term Loan Lenders or their counsel) in connection with the
preparation, execution and delivery of the Exit Term Loan Documents and
the funding of the Exit Term Loans under the Exit Term Loan Facility,
including, without limitation, all due diligence, syndication (including
printing, distribution and bank meeting), transportation, computer,
duplication, messenger, audit, insurance, appraisal, valuation and consultant
costs and expenses, and all search, filing and recording fees, incurred or
sustained by the Exit Agent and the Exit Term Loan Lenders in connection
with the Exit Term Loan Facility, the Exit Term Loan Documents or the
transaction contemplated thereby, the administration of the Exit Term Loan
Facility and any amendment or waiver of any provision of the Exit Term
Loan Documents and (ii) costs and expenses of the Exit Term Loan Lenders
(including fees, expenses and disbursements of counsel, including local

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Assignments and
Participations:

Requisite Exit Term Loan
Lenders:

Miscellaneous:

Governing Law:

Counsel to the Exit Term
Loan Lenders:

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counsel, and other professional advisors hired by the Exit Term Loan
Lenders) in connection with the enforcement of any of their rights and
remedies under the Exit Term Loan Documents.

Prior to the occurrence of an Event of Default, assignments (other than
assignments to another Exit Term Loan Lender, an affiliate of any Exit
Term Loan Lender or an Approved Fund (to be defined)) shall be subject to
the consent of the Borrower, which consent shall not be unreasonably
withheld, delayed or conditioned, and all assignments must be in a
minimum amount of $1,000,000 (which may be aggregated among any Exit
Term Loan Lender’s affiliates). Following the occurrence of an Event of
Default, no consent of the Borrower shall be required for any assignment.
Each Exit Term Loan Lender shall have the right to sell participations in its
Exit Term Loan, subject to customary voting limitations.

Exit Term Loan Lenders holding more than 67% of the outstanding Exit
Term Loans under the Exit Term Loan Facility (the “Requisite Exit Term
Loan Lenders”) except as to matters requiring unanimity under the Exit
Term Loan Agreement (e.g., the reduction of interest rates, the extension of
interest payment dates, the reduction of fees, the extension of the maturity
of the Borrower’s obligations, and the release of all or substantially all of
the Collateral).

The Exit Term Loan Agreement will include standard yield protection
provisions (including, without limitation, provisions relating to compliance
with risk-based capital guidelines, increased costs and payments free and
clear of withholding taxes).

The State of New York (except for security documentation that the Exit
Agent determines should be governed by local law).

Stroock & Stroock & Lavan LLP

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Annex II

Term Loan Commitment Amount of each of the Term Loan Commitment Parties

Term Loan Commitment Party

Term Loan Commitment Amount

GoldenTree

$30,000,000

MacKay

$30,000,000

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